                      _______________________________________________________
                                                                              __)



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         MICHAEL JAY BERGER (State Bar # 100291)
     1   LAW OFFICES OF MICHAEL JAY BERGER
         9454 Wilshire Boulevard,      Floor     6th

     2   Beverly Hills, California 90212
         T: (310) 271.6223
         F: (3 10) 271.9805
         E: Michael.Bergerbankruptcypower.corn
         Proposed Counsel for Debtor-in-Possession
         Mr. Tortilla, Inc.
     6
     7                                  UNITED STATES BANKRUPTCY COURT
     8                                    CENTRAL DISTRICT OF CALIFORNIA
                                            SAN FERNANDO VALLEY DIVISION
 10
         Inre:                                                                 ) CASENO.: 1:24-bk-10228-VK
                                                                               )
12       Mr. Tortilla, Inc.,                                                   ) Chapter 11
13                                                        ) SUPPLEMENTAL DECLARATION OF
                                     Debtor-in-Possession.) ANTHONY ALCAZAR IN SUPPORT OF
14                                                        ) DEBTOR’S EMERGENCY MOTION
15                                                        ) FOR ORDER AUTHORIZING INTERIM
                                                          ) USE OF CASH COLLATERAL
16                                                        ) PURSUANT TO 11 U.S.C. § 363
                                                                               )
17
18                                                                             ) Date: March 7,2024
                                                                               ) Time: 1:30 p.m.
19                                                                             ) Place: Courtroom 301
                                                                               )        21041 Burbank Blvd. Suite 354
20                                                                             )        Woodland Hills, CA 91367
21                                                                            )
                                                                              )
22                                                                            )
23
24               TO THE HONORABLE VICTORIA S. KAUFMAN, UNITED STATES
25       BANKRUPTCY JUDGE; THE OFFICE OF THE UNITED STATES TRUSTEE;
26       SECURED CREDITORS; TWENTY LARGEST UNSECURED CREDITORS,
27
         AND PARTIES ENTITLED TO NOTICE:
28


                                                                               1
          SUPPLEMENTAL DECLARATION OF ANTHONY ALCAZAR IN SUPPORT OF DEBTORS EMERGENCY MOTION
                                                                                             FOR ORDER
                         AUTHORIZING INTERIM USE OF CASH COLLATERAL PURSUANT TO II U.S.C.
                                                                                                       § 363
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     1                         DECLARATION OF ANTHONY ALCAZAR
     2           I, Anthony Alcazar, declare and state as follows:
     3           1.     I am the Chief Executive Officer of Mr. Tortilla, Inc. (the “Debtor”) herein.
          I have personal knowledge of the facts set forth below and if called to testify as to those
          facts, I could and would competently do so.
     6
                 2.     On February 20, 2024, the Debtor filed an Emergency Motion for Order
         Authorizing Interim Use of Cash Collateral (“Cash Collateral Motion”) [docket no.: 12].
     8
         The hearing took place on February 22, 2024 and has been continued to March 7, 2024 at
     9
          1:30 p.m.
 10
                 3.     On March 2, 2024, I filed a Supplemental Declaration to add the Debtor’s
         six-month projections from March 2024          —   August 2024.
12
                4.      On March 4, 2025, the Court entered an Order Granting Application and
13
         Setting Hearing on Critical Vendor Motion on shortened notice (“Order”) Edocket no.:
14
15       51]. The Order requested the Debtor to file a declaration and updated cash collateral

16       budget illustrating its proposed payments of Amazon prepetition debt over time, during

17       the postpetition period, i.e., when each installment payment of the prepetition debt will be

18       made and for how much.

19              5.     I am submitting this Supplemental Declaration with the Debtor’s revised
20       six-month projections for March 2024 August 2024 (“Revised Projections”), a true and
                                                    -




21       correct copy of which is attached hereto as Exhibit-i, to address the court’s request. The
22       Revised Projections added a line item for “Amazon Canada Seller Account Payments for
23       pre-petition Amazon Fees” which amounts are estimated because the Debtor cannot
24       predict if any refunds and for what amount will come in.
25
26
27
28


                                                            2
          SUPPLEMENTAL DECLARATION OF ANTHONY ALCAZAR IN SUPPORT OF DEBTOR’S EMERGENCY MOTION FOR ORDER
                        AUTHORIZING INTERIM USE OF CASH COLLATERAL IURSUANT TO II U.S C § 363
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 1           1 declare under penalty of perjury that the foregoing is true and correct and that
 2    this declaration is executed on March 5, 2024 at San Fernando, California.


                                                                     .—




                                                                Anthony Alcazar//
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                                                    3
       SUPPLEMENTAL DECLARATION OF ANTHONY ALCAZAR IN SUPPORT OF DEBTORS EMERGENCY MOTION FOR ORDER
                     AUTHORIZING INTERIM USE OF CASH COLLATERAL PURSUANT TO II USC. § 363
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                               EXHIBIT-i
                                                                                              -
                                             REVISED Projected 6 Months Income and Expenses Mr. Tortilla,_Inc.
                                                       Mar-24          Apr-24         May-24            Jun-24        Jul-24        Aug-24
Income
                                                                                                                                                              Comments
 AmazonFBAlnventoryCredit                                $3,949.20      $4,107.17       $4,271.45       $4,442.31      $4,620.00     $4,804.81
 AmazonGiftwrapcredits
                                                            $3.33           $3.46          $3.60             $3.74         $3.89         $4.05
 Amazon Promotional Rebate Refunds
                                                          $569.45         $592.23        $615.92          $640.56        $666.18       $692.83
 Amazon Sales-CAD
                                                       $84,410.06      $87,786.46     $91,297.92       $94,949.84     $98,747.83   $102,697.75
 Amazon Sales-DE
                                                            $0.00           $0.00             $0.00         $0.00          $0.00         $0.00
 AmazonSales-lJK
                                                            $0.00           $0.00          $0.00            $0.00          $0.00         $0.00
                 -
 Amazon Sales US
                                                        $4,429.29       $4,606.46      $4,790.72        $4,982.35      $5,181.65     $5,388.91
                 -
 Amazon Sales Vendor US
                                                      $296,280.90     $308,132.14    $320,457.42      $333,275.72    $346,606.75   $360,471.02
 Amazon Shipping Credits
                                                           $55.65          $57.88         $60.20           $62.60         $65.11
                                                                                                                                                                                                                Case 1:24-bk-10228-VK




                                                                                                                                         $67.71
 eBay Sales
                                                          $128.74         $133.89        $139.24          $144.81        $150.61       $156.63


                                                                                                                                                  Adjusted this forecast due to large
 Other Sales                                          $105,203.05     $113,619.30    $122,708.84      $132,525.55    $143,127.59   $154,577.80 strides made in the last month
 Sales Tax
                                                          $900.97        $937.01         $974.49        $1,013.47      $1,054.01     $1,096.17


                                                                                                                                               Placed in the income category as
                                                                                                                                                                                         Main Document




                                                                                                                                               this deduction is taken from Shopify
 ShopifyPromotionalDiscounts                          -$75,824.89     -$78,857.89     -$82,012.20     -$85,292.69    -$88,704.40   -$92,252.58 incomebeforeitispaid.
 Shopify Sales
                                                      $229,626.86     $238,811.94    $248,364.41      $258,298.99    $268,630.95   $279,376.19
 Shopify Shipping
                                                        $2,828.78       $2,941.94      $3,059.61        $3,182.00      $3,309.28     $3,441.65
 Walmart Sales
                                                        $9,014.62       $9,375.20      $9,750.21       $10,140.22     $10,545.82    $10,967.66

Gross Income                                          $661,576.02    $692,247.18     $724,481.84      $758,369.47    $794,005.27   $831,490.59
                                                                                                                                                                                                          Page 5 of 13




Expenses
 Amazon Adjustments
                                                          $310.74        $320.06         $329.66          $339.55       $349.74        $360.23
 Amazon Carrier shipping label adjustments
                                                          $307.71        $316.94         $326.45          $336.25       $346.33        $356.72
                                                                                                                                                  Marketing Activities inside Amazon
 Amazon Cost of Advertising                            $22,287.96      $22,956.60     $23,645.30       $24,354.66     $25,085.30    $25,837.86 Ads Platform.
 Amazon FBA inventory and inbound services fees         $1,047.04       $1,078.45      $1,110.81        $1,144.13      $1,178.46     $1,213.81
 Amazon FBA product sale refunds
                                                          $578.80         $596.16        $614.04          $632.47        $651.44       $670.98
 Amazon FBA selling fees
                                                        $4,941.32       $5,089.56      $5,242.24        $5,399.51      $5,561.50     $5,728.34
 Amazon FBA transaction fees
                                                        $9,619.89       $9,908.49     $10,205.74       $10,511.91     $10,827.27    $11,152.09
                                                                                                                                                                                        Doc 62 Filed 03/05/24 Entered 03/05/24 16:26:00




 Amazon Promotional Rebates
                                                       $26,372.51      $27,163.68     $27,978.59       $28,817.95     $29,682.49    $30,572.96
 Amazon Refund administration fees
                                                          $100.77        $103.79         $106.90         $110.11         $113.41       $116.81
 Amazon Seller fulfilled selling fees
                                                        $6,549.84       $6,746.34      $6,948.73        $7,157.19      $7,371.91     $7,593.06
                                                                                                                                                                                                                Desc




 AmazonServicefees
                                                        $3,271.52       $3,369.66      $3,470.75        $3,574.87      $3,682.12     $3,792.58
  Amazon Shipping credit refunds
                                                  $59.54        $61.33        $63.17        $65.06        $67.01
  Amazon Shipping label purchases
                                                                                                                         $69.03
                                               $2,057.54     $2,119.27     $2,182.84     $2,248.33     $2,315.78      $2,385.25
  Amazon Vendor Base Co-Op                                                                                                        Amazon Vendor deducts this from
                                              $35,553.71    $36,975.86    $38,454.89    $39,993.09    $41,592.81    $43,256.52 our monthly sales (12%)
  Amazon Vendor Damage Allowance                                                                                                  Amazon Vendor deducts this from
                                               $5,925.62     $6,162.64     $6,409.15     $6,665.51     $6,932.13      $7,209.42 our monthly sales (2%)
  Amazon Vendor Marketing Expense                                                                                                 Amazon Marketing Activities outside
                                              $12,152.34    $12,516.91    $12,892.42    $13,279.19    $13,677.56    $14,087.89 of Amazon Ads Platform
  Amazon Vendor Pick Up Allowance                                                                                                 Amazon Vendor deducts this from
                                               $8,888.43     $9,243.96     $9,613.72     $9,998.27    $10,398.20    $10,814.13 our monthly sales (3%)
                                                                                                                               We will be purchasing a bit heavier
  Raw Materials                                                                                                                than normal to make up for a deficit
                                             $111,179.00   $116,737.95   $120,240.09   $123,847.29   $127,562.71   $131,389.59 in raw materials pre-petition
                                                                                                                                                                                                Case 1:24-bk-10228-VK




                                                                                                                               Payroll increases as product orders
Payroll                                                                                                                        increase, necessitating more hours
                                             $163,000.00   $167,890.00   $172,926.70   $178,114.50   $183,457.94   $188,961.67 of production labor
                       -
Insider Compensation       Anthony Alcazar    $10,000.00    $10,000.00    $10,000.00    $10,000.00    $10,000.00    $10,000.00
                       -
Insider Compensation       Ronald Alcazar
                                               $8,800.00     $8,800.00     $8,800.00     $8,800.00     $8,800.00     $8,800.00
                       -
Insider Compensation       Tony Alcazar
                                               $8,000.00     $8,000.00     $8,000.00     $8,000.00     $8,000.00     $8,000.00
  Ebay Fees
                                                  $82.19       $84.66        $87.20         $89.81       $92.51         $95.28
  PayPal Fees
                                                  $10.88       $11.21         $11.55        $11.89       $12.25         $12.62
  Sales Tax Expense
                                               $1,801.85     $1,855.90     $1,911.58     $1,968.93     $2,028.00     $2,088.84
                                                                                                                                                                         Main Document




  Shipping, Freight& Delivery                                                                                                     Direct to Customer Shipping
                                             $66,543.01    $68,539.30     $70,595.48    $72,713.34    $74,894.74    $77,141.58 Expenses.
  Shopify Fees
                                              $3,895.35     $4,051.16      $4,213.21     $4,381.74     $4,557.01     $4,739.29
  Shopify Refunds
                                               $2,145.46     $2,209.82     $2,276.12     $2,344.40     $2,414.73     $2,487.18
 Walmart Fulfillment Services
                                               $1,172.77     $1,207.95     $1,244.19     $1,281.52     $1,319.96     $1,359.56
 Walmart Adjustments
                                                 $15.75         $16.22        $16.71        $17.21        $17.73        $18.26
 Walmart Commission
                                                $816.16        $840.65       $865.87      $891.84       $918.60        $946.16
 Walmart Refunds
                                                 $74.23         $76.46
                                                                                                                                                                                          Page 6 of 13




                                                                              $78.75       $81.12         $83.55        $86.06
 Auto Expense
                                              $1,200.00      $1,236.00     $1,273.08    $1,311.27      $1,350.61     $1,391.13
   CarLease
                                              $3,046.00     $3,500.00     $3,500.00     $3,500.00     $3,500.00      $3,500.00 Companyvehicles
Insurance
                                              $3,234.58     $3,234.58     $3,234.58      $3,234.58    $3,234.58      $3,234.58
                                                                                                                               Equipment from Blue Bridge,
                                                                                                                               Financial Pacific, and Pawnee
                                                                                                                               (mercury). We are negoiating
Machinery Lease Expense                                                                                                        adjusted terms with them moving
                                              $1,000.00     $1,000.00     $1,000.00     $1,000.00     $1,000.00      $1,000.00 forward
Repair & Maintenance
                                              $2,000.00     $2,060.00     $2,121.80     $2,185.45     $2,251.02      $2,318.55
                                                                                                                                                                        Doc 62 Filed 03/05/24 Entered 03/05/24 16:26:00




Outside Sales                                                                                                                     Outside Salespeople to Generate
                                             $13,100.00    $13,100.00    $13,100.00    $13,100.00    $13,100.00     $13,100.00 “Other Sales Revenue
 Bank Charges & Fees                                                                                                           Wire Fees, ACH fees, monthly
                                              $1,000.00     $1,030.00     $1,060.90     $1,092.73     $1,125.51      $1,159.27 charges, etc.
                                                                                                                                                                                                Desc
  Facebook Advertising                           $32,740.44   $34,704.87   $36,787.16   $38,994.39   $41,334.05   $43,814.09
  Google Advertising
                                                 $15,000.00   $15,450.00   $15,913.50   $16,390.91   $16,882.63   $17,389.11
  Licenses&Fees
                                                  $3,169.10    $3,264.17    $3,362.10    $3,462.96    $3,566.85    $3,673.85
                                                                                                                               Includes email platform fees, and
Marketing Expenses                                                                                                             expenses related to client
                                                  $7,410.16    $7,532.46    $7,758.43    $7,991.19    $8,230.92    $8,477.85 relationships
  Moving & Storage
                                                   $292.11      $300.87       $309.89      $319.19      $328.77      $338.63
                                                                                                                               Miscellanious expenses including:
  Office Expenses                                                                                                            office supplies, break room, printer
                                                  $3,200.00    $3,296.00    $3,394.88    $3,496.73    $3,601.63    $3,709.68 fees
Equipment Rental                                                                                                               Forklifts and other rented
                                                 $2,500.00     $2,500.00    $2,500.00    $2,500.00    $2,500.00    $2,500.00 equipment
                                                                                                                                                                                            Case 1:24-bk-10228-VK




                                                                                                                             Currently negotiating With landlords
                                                                                                                             for delayed rent payment to April
8134 Lankershim Rent                                                                                                         1st as we do not have access to our
                                                              $17,510.00   $17,510.00   $17,510.00   $17,510.00   $17,510.00 funds yet
                                                                                                                             Currently negotiating With landlords
                                                                                                                             for delayed rent payment to April
lll2ArroyoStUnitA                                                                                                            1st as we do not have access to our
                                                               $7,775.00    $7,775.00    $7,986.00    $7,986.00    $7,986.00 fundsyet
                                                                                                                             Currently negotiating With landlords
                                                                                                                             for delayed rent payment to April
                                                                                                                                                                     Main Document




lll2ArroyoSt.UnitB                                                                                                           1st as we do not have access to our
                                                               $4,029.00    $4,029.00    $4,143.00    $4,143.00    $4,143.00 fundsyet
                                                                                                                             Currently negotiating With landlords
                                                                                                                             for delayed rent payment to April
1110 Arroyo St Office                                                                                                        1st as we do not have access to our
                                                              $2,287.50     $2,287.50    $2,287.50    $2,287.50    $2,287.50 funds yet
                                                                                                                             Currently negotiating With landlords
                                                                                                                             for delayed rent payment to April
                                                                                                                                                                                      Page 7 of 13




1104 Arroyo St                                                                                                               1st as we do not have access to our
                                                              $7,589.00     $7,589.00    $7,589.00    $7,589.00    $7,589.00 fundsyet
                                                                                                                             Monthly applications that make up
                                                                                                                             our tech stack, as our econimerce
  Software Subscription License                                                                                              revenue grows this expense also
                                                 $1,469.50    $1,513.58     $1,558.99    $1,605.76    $1,653.93    $1,703.55 scales.
  Travel
                                                 $1,066.64    $1,098.63     $1,131.59    $1,165.54    $1,200.51    $1,236.52 meetings, flights with customers and
  Trade Shows
                                                                           $10,500.00   $10,500.00   $10,500.00   $10,500.00 Showsto obtain distribution
  Utilities
                                                 $5,108.31    $5,261.56     $5,419.40    $5,581.98    $5,749.44    $5,921.93 Power, Gas, Water, Trash
Adequate Protection Payments to SBA
                                                 $1,237.00    $1,237.00     $1,237.00    $1,237.00    $1,237.00    $1,237.00
                                                                                                                                                                    Doc 62 Filed 03/05/24 Entered 03/05/24 16:26:00




                                                                                                                             Adequate protection payment for
Adequate Protection Payments to Amazon Capital
Services, Inc.                                                                                                               Amazon’s pre-petition loan subject
                                                 $5,000.00    $5,000.00     $5,000.00    $5,000.00    $5,000.00    $5,000.00 to UCC-1 financing statement
Deborah Tyrell (Bookkeeping Services). For
Preparation of MOR                                                                                                           She worked with our previous case
                                                                                                                                                                                            Desc




                                                 $1,500.00    $1,500.00     $1,500.00    $1,500.00    $1,500.00    $1,500.00 and understands our business
Amazon US Seller Account Payments
                                                                                                                                   Estimated payable for pre-petition
                                                   $1,000.00     $1,000.00     $1,000.00     $1,000.00     $1,000.00     $1,000.00 Amazon Fees.
Amazon Canada Seller Account Payments for pre-
petition Amazon Fees                                                                                                               Estimated payable for the pre
                                                   $1,600.00     $1,600.00     $1,600.00     $1,600.00                               petition Amazon Fees.
Law Offices of Michael Jay Berger (general
                      -
bankruptcy counsel) subject to court
approval
                                                                                            $20,000.00
                           -
Office of the U.S. Trustee Quarterly Fees
(estimated)                                                      $7,493.23                                 $8,643.71
Total Expenses                                   $624,435.74   $692,154.43   $714,316.66   $754,456.82   $761,999.84   $774,565.02
Net Income                                        $37,140.29        $92.75    $10,165.19     $3,912.65    $32,005.43    $56,925.56
                                                                                                                                                                                                Case 1:24-bk-10228-VK
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             _________________,

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                                           PROOF OF SERVICE OF DOCUMENT

 I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
 9454 Wilshire Blvd., 6th Fl., Beverly Hills, CA 90212

 A true and correct copy of the foregoing document entitled (specJj4: Supplemental Declaration of Anthony Alcazar in
 Support of Debtor’s Emergency Motion for Order Authorizing Interim Use of Cash Collateral will be
 served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated
 below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
3/5/2024, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:
Proposed Counsel: Michael Jay Berger michael.berger@bankruptcypower.com,
yathida.niphabankruptcypower.com;michael.berger@ecf.inforuptcy.com
U.S. Trustee: Katherine Bun ker kate.bunker@usdoj.gov
Counsel for 8fig inc.: John E Johnson jjohnson@padfieldstout.com
Interested Party: Matthew D. Resnik Matt@rhmfirm.com,
roksana@rhmfirm.com ;rosario@rhmfirrn .com ;sloan@rhmfirm.com ;priscil la@rhmfirm.com ;rebeca@rhmfirm .com ;david@rhmfirm .c
om ;susie@rhmf’irm.com ;max@rhmfirm .com;russ@rhmfirm .com
Counsel for Am azon.com: Brandy A Sargent brandy.sargent@klgates.com,
litigation.docketing@klgates.com;janna. leasy@klgates.com
United States Trustee (SV) ustpregionl6.wh.ecf@usdoj.gov

                                                                                        El Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date)                       I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.


                                                                                        LI Service information continued on attached page
3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on 3/5/2024, I served the following
persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to such service
method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration that personal
delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is filed.

Honorable Victoria Kaufman
United States Bankruptcy Court
Central District of California
21041 Burbank Boulevard, Suite 354/Courtroom 301
Woodland Hills, CA 91367 United States Bankruptcy Court

                                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 3/5/2024                      Peter Garza                                                      Is/Peter Garza
 Date                           Printed Name                                                    Signature

            This form is mandatory. It has been approved for use by the United States Bankruptcy court for the central District of california


June 2012                                                                                           F 901 33.1.PROOF.SERVICE
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 3. Served by Email:

 U.S. Trustee:
 Katherine Bunker


 SECURED CREDITORS:

8FIG Advance
Attn: Legal Dept.
legaI’i)8fie.coni; jjomsonipadfieldstout.com

Amazon Capital Services:
Attn: Lauren Dorsett & Michael Gearin
Ia urendorsett(ad wl.com
mike ce ii iii a kIg Ite om hi ind iicntakl.zak.sconi
                                  ,                                    htition dockLtm              ILs corn Ilnn I Ic.     ak[atc. corn



I3lue Bridge Financial
Afln: Amy Joy
ajoy(i)bluebndge1inanc a I .com
leeal’hIuehridgetinancial.con

Bluevine
AIIm: Officer
Support uhluev inc.coin

Cedar Advance
Attn: Simon Cedar
sirnoii(acedaradvance.coin

Corporation Service Company
SPRFiliiiWccslohil.coiii; UCCSPREPcscglobaLcom

CT Corporation
uccfilingreturn@wolterskluwer.com

Fasanara Securitisation S.A. Acting
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Financial Pacific Leasing
Attn: Allison Sweet
A Sweet ii I in Piic COrn
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First Corporate Resolution
SPRS1ICOSOCOM


l-Iuntington Valley Bank
Afln: Erin
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 erin(à’hraavobank.com
 Mercury Capital


 Metropolitan Capital Bank & Trust
 Attn: Jeffrey Brown
 rrabin@thornpsoncoburn.com ; jbrown()ihompsoncoburn.com

 Parks ide Funding Group LLC
 Attn: Adriana Harris
 i\clrianatvnoniasrecoverv.coni

 Partners Personnel Management Services, LLC
 Attn: Cherly Canty
 CCantlcspererholdings.com

 Robert Reiser and Company
 uccfl_linreturn)wo1tcrskluwer.com

Sand Park Capital
Attn: Simon Cedar
siInon(acedaradvance.com

Sellers Funding
Attn: Officer
                            legal@sellersFi.com

Shopify Capital
leal(’ihluehridgefinancial.corn

S lope Advance
Attn: Ashish Jam
ash ishQs lopc.com

Spartan Capital
Attn: Jason Gang
jojasong.com

Stor RB One Limited
U Cc        ft. iwolte rsklu wer. corn


U.S. Business Administration
Attn: Elan Levey
 Ian. lcvey’usdo coy

20 LARGEST UNSECURED CREDITORS

Easy Post
Attn: Dustin Henrie
cI I cnriea)casvpost. COrn


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 AUn: Anthony Miller
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 Fleetcor Technologies Inc.
 At[n: Oflcer
 PartnerServices:FleeiCor,com: jo\vi I iams(Zwi llamsandwill iamscom

 Greenberg Traurig
 Attn: Reid Hockaday


 IRS
 Attn: Officer
 I rs.gov.w ehsite.hel pdesk(speedvmai l.com; Dorletha.M.Godley(irs.gov

Lyneer Staffying
Attn: Billing Dept.
billin(a)lvnecr.coni

Parker Group Inc.
Attn: Lariy Nessenson, Esq.
IneSSenso1(/Ja1leafldislier.com

Ramp
AUn: Officer
conni unical ioisiran p.coln ; support’a’rarup.conl

Jeeves
ajxgd;trvjccvcscom lucioatryjecvcs.coni

Southern California Edison
Anthony Tarantino
Anhoiiv. larant inodscc.com

UPS
Attn: Mary Kay
vlarv

We Pack it All
esse. ton seca u;vepack ia II .com

Rapid Fulfillment LLC
Attn: Adam Brumage
A Brum agercoI lectm oorc.com

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Taboola
AUn: Fred Sampliner

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 fsampliner@sampliner.com nminassianhatkofflaw.com

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 Attentive Mobile
 bankruptcvaattcnti veiitobe le.com

SoCal Gas
customerscrviccusocalgas.com

Republic Services
cceta)rcpuhhcservices.com

ADDITIONAL CREDITORS:

ArcBest, Inc.
dlott:t)a rc b C 0111

Old Dominion Freight Line, Inc.
Attn: Rusty Frazier
Rnstv.f lazicr’a)odfl .com

TikTok Inc.
Attn: Einely Andino
ushil I ndhvtedance.coin

Pawnee Leasing Corp.
I3ankrnptci)pawneeIeasingrcom

KTLA/KTLA
do The Law Offices of Gary A Bemis
LcgalService:u)hcin islawofficcs.com




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